      CASE 0:22-cr-00223-NEB-DTS            Doc. 444    Filed 01/13/25   Page 1 of 4




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           CRIMINAL NO: 22-CR-223 (NEB/DTS)




United States of America,
              Plaintiff,                             DEFENDANT AIMEE BOCK’S
                                                      MOTION IN LIMINE NO. 4
vs.
Aimee Marie Bock (1),
              Defendant.




                                      INTRODUCTION

       Defendant Aimee Marie Bock (hereinafter “Defendant”), through her counsel,

Kenneth Udoibok, respectfully moves this Court to preclude the Government from

introducing certain evidence and making certain arguments. Bock reserves the right to

file additional motions in limini once she has reviewed the Government’s recently

produced witnesses and exhibits list.

                                 MOTION IN LIMINE NO. 4
                           (specificity as to defendants and charges)

       The Government should be prohibited from intentionally conflating the

defendants, from equating Bock with Feeding Our Future, and from arguing that the

actions of others are relevant to Bock’s guilt or innocence. The Government should also

be required to specify which defendants each piece of evidence pertains to prevent

confusing the jury.



                                               1
      CASE 0:22-cr-00223-NEB-DTS           Doc. 444     Filed 01/13/25     Page 2 of 4




       From the onset, the Government has intentionally conflated the actions of a host of

individuals across multiple sponsors. As the Government knows, the majority of the

claims relating to the indictments, nearly 70% of the claims relating to the guilty pleas,

and nearly 100% of the claims relating to the convictions were submitted by sites

affiliated with Partners in Nutrition and have nothing to do with Bock, Feeding Our

Future, or any other defendant in this case. In fact, most of the allegations across the

multiple indictments have nothing whatsoever to do with Bock or Feeding Our Future.

Nonetheless, in its numerous press releasees and press conferences, the Government has

dubbed this the “Feeding Our Future” case.

       Similarly, although Feeding Our Future had about 100 employees, the inditement

repeatedly makes allegations about “Bock and Feeding Our Future” without explanation

or distinction. In fact, other than alleging Bock received $310,000 for the sale of an asset,

the indictment provides no specific allegation about anything specific Bock allegedly

knew or did. Instead, it makes only vague and conclusory statements that “Bock and

Feeding Our Future” allowed fraudulent claims to be processed. It is well established that

Bock is not imputed with the knowledge of Feeding Our Future’s 100 employees, and she

cannot be held criminally culpable for their actions. Bock has a constitutional right to a

fair trial based on the evidence of what, if anything, she personally knew, and what, if

anything, she personally did. U.S. Const. Amend. VI; Taylor v. Kentucky, 436 U.S. 478,

485 (1978) (“[O]ne accused of a crime is entitled to have his guilt or innocence

determined solely on the basis of the evidence introduced at trial, and not on grounds of



                                              2
       CASE 0:22-cr-00223-NEB-DTS          Doc. 444      Filed 01/13/25       Page 3 of 4




official suspicion, indictment, continued custody, or other circumstances not adduced as

proof at trial.”).

       The Government should be precluded from conflating the actions of the various

defendants, claims submitted through Partners in Nutrition, and conflating Bock with

Feeding Our Future. Specifically, the Government should not be permitted to paint all

defendants with sweeping statements in its opening statement, its closing argument, or

through the testimony of any of its witnesses. The Government should be required to

describe the allegations and evidence it is introducing relating to each defendant.

       The Government should also be precluded from demonizing Bock by claiming she

is the face of the “Feeding Our Future fraud.” See, e.g., United States v. Johnson, 968

F.2d 768, 770 (8th Cir. 1992) (improper argument when prosecutor exhorted jurors to

“stand as a bulwark against the continuation of what [defendant] is doing on the street,

putting this poison on the streets”); James v. Bowersox, 187 F.3d 866, 868-69 (8th Cir.

1999) (considering whether prosecutor’s statements that defendant was a “a big time,

drug dealing, murdering, robbing slime” violated due process). Such disparagement in the

prosecution’s arguments or in the testimony that it elicits has the potential to infect the

trial with such unfairness that it violates due process. See Darden v. Wainwright, 477 U.S.

168, 181 (1986) (relying on Donnelly v. DeChristoforo, 416 U.S. 637, 643 (1974)).

       Moreover, the Government should be required to label its proposed exhibits with

the individual defendant it relates to, to ensure the jury is not confused.

       The Government should be precluded from conflating the actions of the

defendants in this indictment and others, as well as conflating Bock with the actions of

                                              3
      CASE 0:22-cr-00223-NEB-DTS           Doc. 444      Filed 01/13/25    Page 4 of 4




Feeding Our Future or other Feeding Our Future employees. The Government should

also be required to affirmatively identify the defendant(s) that relate to each exhibit it

seeks to introduce.

                                                   Respectfully Submitted

                                                   KENNETH UBONG UDOIBOK, P.A.

January 13, 2025                                   /s/Kenneth U. Udoibok
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